                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,                      No.

                               Plaintiff,       COUNT ONE:
                                                (Conspiracy to Commit Interstate
        v.                                      Transportation of Stolen Property)
                                                18 U.S.C. § 371
 JAMES SPICK,                                   NMT: 5 Years’ Imprisonment
 [DOB: 04/30/1965]                              NMT: $250,000 Fine
                                                NMT: 3 Years’ Supervised Release
                               Defendant.       Class D Felony

                                                COUNTS TWO – TWENTY-SIX:
                                                (Interstate Transportation of Stolen Property)
                                                18 U.S.C. §§ 2314 and 2
                                                NMT: 10 Years’ Imprisonment
                                                NMT: $250,000 Fine
                                                NMT: 3 Years’ Supervised Release
                                                Class C Felony

                                                FORFEITURE ALLEGATION:
                                                18 U.S.C. § 981(a)(1)(C)
                                                28 U.S.C. § 2461(c)

                                                $100 Mandatory Special Assessment on
                                                Each Count

                                                Restitution May Be Ordered

                                      INDICTMENT

       THE GRAND JURY CHARGES THAT:

                        Introduction and Description of the Conspiracy

       1.       Catalytic converters, which are part of gasoline powered vehicles, convert toxic

gases and pollutants from internal combustion engines into less-toxic pollutants. Catalytic

converters are located under the vehicle near the engine exhaust manifold and contain precious

metals such as platinum, rhodium, and palladium. Stolen catalytic converters have value because




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of the precious metals, which can be extracted from the converters. Theft of a catalytic converter

from a vehicle causes the vehicle’s engine to run louder and emit more pollutants into the air.

        2.      Catalytic converters are an easy mark for thieves, in part, because they can be cut

from a vehicle often without putting the vehicle on jacks. Once a catalytic converter is cut from its

originating vehicle, it is not possible to trace because catalytic converters are marked, if at all, with

only a serial number that may identify the year, make, and model of the originating vehicle.

        3.      In response to catalytic converter thefts, Missouri passed laws requiring that buyers

of catalytic converters keep registers of each purchase. The register must contain a copy of the

seller’s driver’s license or photo identification, the date, time and place of the sale, the seller’s

vehicle license plate number, and a full description of the sale, including the weight and purchase

price. [Mo. Rev. Stat. § 407.300]

        4.      Independence, Missouri municipal law requires that a secondary metal recycler

shall not purchase a catalytic converter without obtaining proof that the seller is the verifiable

owner or is an employee authorized in writing to sell the catalytic converter on behalf of the owner.

[Independence Code Article 19, §§ 5.19.001-005]

        5.      SPICK does business as J&J Recycling,10428 East Truman Road, Independence,

Missouri. In his salvage business, SPICK primarily buys and resells catalytic converters rather

than other automotive parts or recyclable items.

        6.      Beginning in at least 2014, SPICK bought catalytic converters at his business

from individuals whom he paid in cash. The cash payments attracted thieves, particularly addicts.

SPICK sometimes had the sellers of the catalytic converters provide photo identification and

sign a form. From at least 2014 through January 2021, the form stated, “I ___ Certify that

these Catalytic converters are my property and are not stolen, now and in the future.” Beginning in


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January 2021, the form stated, “I ___ Certify that these Catalytic converters are my property and

are not stolen.” Both forms had a signature line and a driver’s license number line.

       7.       SPICK resold the catalytic converters to companies in Missouri, Texas, and

Louisiana. The Texas and Louisiana companies processed the catalytic converters purchased from

SPICK in their respective states to extract the precious metals.

       8.       From January 1, 2018, through December 31, 2021, SPICK received over $11

million from the sale of catalytic converters.

                                          COUNT ONE

       9.       Paragraphs One – Eight of this Indictment are incorporated herein by reference.

       10.      From at least on or about January 1, 2018, through the date of this indictment, in

the Western District of Missouri and elsewhere, JAMES SPICK, the defendant, did knowingly

and willfully combine, conspire, confederate and agree with others, both known and unknown to

the Grand Jury, to transport, transmit, and transfer in interstate commerce goods, wares,

merchandise, and money, of the value of $5,000 or more, that is, catalytic converters, knowing the

same to have been stolen, converted, and taken by fraud, contrary to Title 18, United States Code,

Section 2314.

                                          OVERT ACTS

       11.      In furtherance of the conspiracy and to accomplish the object of the conspiracy, one

or more members of the conspiracy committed or caused to be committed at least one of the

following overt acts, among others, in the Western District of Missouri and elsewhere:

                a. Counts 2-26 listed below are incorporated as overt acts of this conspiracy.

                b. SPICK withdrew cash from his bank accounts to buy catalytic converters from

his customers. Per year, SPICK withdrew in cash approximately: $467,270 in 2018; $789,164 in

2019; $637,352 in 2020; and $600,000 in 2021.
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                c. In 2020, SPICK bought catalytic converters several times from an individual

(‘Individual A’). On or about May 28, 2020, the fourth sale, SPICK told Individual A that front

converters were worth more than back converters on a vehicle.

                d.   On or about July 20, 2020, while selling catalytic converters to SPICK,

Individual A told SPICK that he/she “had to take a little break, the cops are getting deadly out

there.” SPICK responded, “Yeah they are, you can’t do anything.”

                e. On or about August 20, 2020, while selling catalytic converters to SPICK,

SPICK told Individual A that one of the converters wasn’t worth much, that he or she needed to

get a bigger portion of it to make it worth more. Individual A responded, “sometimes I don’t have

time to do that, you got to grab and go.” SPICK said, “Right.” Before leaving, Individual A said,

“I’ve got some new boosters though that are pretty good so gonna work them hard.”

                f. SPICK stored catalytic converters he bought from individuals in a warehouse on

Television Road in Independence, Missouri until fall of 2021.

                g. From January 1, 2018, through December 31, 2021, SPICK sold catalytic

converters, including stolen catalytic converters, to a Kansas City, Missouri scrap company for an

approximate total of $3,621,791.

                h. From January 1, 2018, through December 31, 2021, SPICK sold catalytic

converters, including stolen catalytic converters, to a Lee’s Summit, Missouri scrap company for

an approximate total of $206,084.

       All in violation of Title 18, United States Code, Section 371.

                               COUNTS TWO – TWENTY-SIX

       12.      Paragraphs One – Eight of this Indictment are incorporated herein by reference.




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         13.      On or about the dates listed below, in the Western District of Missouri

and elsewhere, JAMES SPICK, the defendant, aided and abetted by others, did unlawfully

transport, transmit, and transfer and cause to be transported, transmitted, and transferred in

interstate commerce from Missouri to Louisiana and Texas, stolen goods, wares, merchandise, of

the value of $5,000 or more, that is, catalytic converters, knowing the same to be stolen,

converted, and taken by fraud, contrary to Title 18, United States Code, Sections 2314 and 2.


 Count            Date       Amount    Interstate Transportation of Stolen Property
                                       SPICK’s sale of catalytic converters to Louisiana company
    2          07/12/2018    $34,481
                                       paid with a $7,081 check plus $27,400 cash
                                       SPICK’s sale of catalytic converters to Louisiana company
    3          08/14/2018    $49,726
                                       paid with $49,726 cash

                                       SPICK’s sale of catalytic converters to Louisiana company
    4          09/27/2018    $34,796
                                       paid with a $19,200 check and $15,596 cash

                                       SPICK’s sale of catalytic converters to Louisiana company
    5           10/17/2018   $40,090
                                       paid with $40,090 cash

                                       SPICK’s sale of catalytic converters to Louisiana company
    6           12/18/2018   $40,853
                                       paid with $40,853 cash

                                       SPICK’s sale of catalytic converters to Louisiana company
    7           01/04/2019   $30,300
                                       paid with a $3,320 check and $26,980 cash

                                       SPICK’s sale of catalytic converters to Louisiana company
    8           03/14/2019   $92,271
                                       paid with a $52,271 check plus $40,000 cash

                                       SPICK’s sale of catalytic converters to Louisiana company
    9           04/04/2019   $64,250
                                       paid with a $17,350 check and $46,900 cash

                                       SPICK’s sale of catalytic converters to Louisiana company
    10          05/09/2019   $66,622
                                       paid with $66,622 cash

                                       SPICK’s sale of catalytic converters to Louisiana company
   11           06/27/2019   $53,641
                                       paid with $53,641 cash




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                              SPICK’s sale of catalytic converters to Texas company paid
12    07/03/2019   $38,749    with three cash payments in the amounts of
                              $8,784, $25,628, and $4,337
                              SPICK’s sale of catalytic converters to Texas company paid
13    11/08/2019   $30,350    with three cash payments in the amounts of $14,415,
                              $11,426, and $4,509
                              SPICK’s sale of catalytic converters to Texas company paid
14    12/18/2019   $50,280
                              with one cash payment in the amount of $50,280

                              SPICK’s sale of catalytic converters to Texas company paid
15    01/07/2020   $67,070
                              with one cash payment in the amount of $67,070

                              SPICK’s sale of catalytic converters to Texas company paid
16    03/04/2020   $49,383
                              with one cash payment in the amount of $49,383

                              SPICK’s sale of catalytic converters to Texas company paid
17    05/19/2020   $29,838
                              with one cash payment in the amount of $29,838

                              SPICK’s sale of catalytic converters to Texas company paid
18    08/14/2020   $45,388
                              with one cash payment in the amount of $45,388

                              SPICK’s sale of catalytic converters to Louisiana company
19    08/18/2020   $48,297
                              paid with $48,297 cash

                              SPICK’s sale of catalytic converters to Louisiana company
20    12/22/2020   $178,369
                              paid with $178,369 cash

                              SPICK’s sale of catalytic converters to Louisiana company
21    01/21/2021   $190,586
                              paid with a $65,586 check and $125,000 cash

                              SPICK’s sale of catalytic converters to Louisiana company
22    03/30/2021   $181,360
                              paid with $181,360 cash

                              SPICK’s sale of catalytic converters to Texas company paid
23    05/11/2021   $87,393
                              with one wire transfer in the amount of $87,393

                              SPICK’s sale of catalytic converters to Texas company paid
24    07/20/2021   $56,941
                              With one wire transfer in the amount of $56,941

                              SPICK’s sale of catalytic converters to Texas company paid
25    09/14/2021   $31,758
                              with one wire transfer in the amount of $31,758

                              SPICK’s sale of catalytic converters to Texas company paid
26    11/23/2021   $38,709
                              with one wire transfer in the amount of $38,709



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                                  FORFEITURE ALLEGATION

        14.      The allegations of Counts One through Twenty-Six of this Indictment are

re-alleged and fully incorporated herein for the purpose of alleging forfeiture to the United States

of America pursuant to the provisions of Title 18, United States Code, Section 981(a)(1)(C) and

Title 28, United States Code, Section 2461(c).

        15.      Upon conviction of an offense in violation of Title 18, United States Code, Sections

371 and 2314, as alleged in Counts One through Twenty-Six, the defendant shall forfeit to

the United States: any property, real or personal, constituting, or derived from, proceeds obtained,

directly or indirectly, as the result of such violation.

        16.      The property to be forfeited includes but is not limited to: a sum of money equal

to the total amount of proceeds obtained as a result of the offenses, which may be entered in the

form of a money judgment.

                                      SUBSTITUTE ASSETS

        17.      If any of the property described above, as a result of any act or omission of the

defendant:

                 a.     cannot be located upon the exercise of due diligence;

                 b.     has been transferred or sold to, or deposited with, a third party;

                 c.     has been placed beyond the jurisdiction of the court;

                 d.     has been substantially diminished in value; or

                 e.     has been commingled with other property which cannot be divided without
                        difficulty.

        The United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 28, United States

Code, Section 2461(c), including but not limited to the following: 10428 East Truman Road,

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Independence, Missouri, 64052, and more fully described as:        Baker and Detray Resurvey,

Lot 1 - 2, in Independence, Jackson County, Missouri, according to the recorded plat thereof.

       All pursuant to Title 18, United States Code, Sections 981(a)(1)(c), and Title 28,

United States Code, Section 2461(c).

                                                    A TRUE BILL.


                                                    /s/ Kathleen Shaw
                                                    FOREPERSON OF THE GRAND JURY


/s/ Kathleen D. Mahoney
Kathleen D. Mahoney
Assistant United States Attorney


/s/ Nicholas Heberle
Nicholas Heberle
Assistant United States Attorney


Dated: 2/8/2022
       Kansas City, Missouri




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